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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
TANYA GILL, )
)
Plaintiff, )
) Case No, 12 CY 2963
VS. }
)
VILLAGE OF MELROSE PARK, et al. ) Honorable John J. Tharp, Jr.
) Magistrate Judge Sheila M. Finnegan
Defendants, )

SWORN AFFIDAVIT OF ADAM GIBSON

1, ADAM GIBSON, being first duly sworn upon oath, do state and depose that I have
personal knowledge of all facts which follow and, if called, I could testify to the following:

1. lam a police officer employed by the Village of Melrose Park.

2. I was working in my capacity as a patrol officer on April 2, 2011.

3, At approximately 11:42 p.m. | responded to a dispatched report of a potential
battery at the I-Bar located at 2010 W. North Avenue in Melrose Park, Illinois.

4, Upon arriving at the scene, I exited my police vehicle and entered the I-Bar. |
stayed in the bar to interview any witnesses to the incident. On at least one occasion I walked
out of the I-Bar and spoke with bar patrons and security personnel outside of the I-Bar. | then
reentered the [-Bar.

5. I interviewed approximately eight people concerning the alleged battery. No one
witnessed the incident. I also spoke with I-Bar owner, Bartosz Bazan, who stated that he did not

see the alleged battery.

patro! duties.

Further affiant sayeth not.

SUBSCRIBED and SWORN to before
me wie Sy of F ebruary, 2013.

‘Fy ) CA Wea C ee

NOTARY PUBLIC

OFFICIAL SEAL

MARCIA CUCCI
NOTARY PUBLIC, STATE OF ILLINOIS
My Commission Expires 03/12/2015

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6. I exited the L-Bar and walked to the parking lot. I instructed patrons in the I-Bar
parking lot to either enter the I-Bar or leave the scene immediately. I waited approximately five

minutes until the I-Bar parking lot was empty. I then entered my patrol car and continued my

7. I did not observe any interaction between Officer Migliore and Ms. ‘Tanya Gill,

8. I had no verbal or physical contact with Ms. Gill,

ADAM GIBSON

